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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     1/12/2021


MICHAEL PHILIP KAUFMAN,

                                            Plaintiff,                 20-CV-6879 (JPC)(SN)

                          -against-                                            ORDER

SALESFORCE.COM, INC.,

                                             Defendant.
-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On January 12, 2021, the Honorable John P. Cronan referred this case to my docket for

general pretrial supervision. In light of the discovery dispute raised in Plaintiff’s December 29,

2020 letter, the Court will hold a telephonic conference on January 20, 2021, at 3:00 p.m. At that

time the parties should dial into the Court’s dedicated teleconferencing line at (877) 402-9757

and enter Access Code 7938632, followed by the pound (#) key.

SO ORDERED.




DATED:           January 12, 2021
                 New York, New York
